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AO 91 (Rev. 11/11) Criminal Complaint ‘ , , : . : :

. , m Dini ict Court .
UNITED STATES DISTRICT CouRT Pst otto
for the - JAN 94 2019
Southern District of Texas
. Davici J. Bradley, Clerte .

 

 

 

_ United States of America +
V. - )
- Chelsea Nichole MADILL, YOB: 1989, USC _ CaseNo. AA+ 1 9-O/E 8-M
_
)
)
Defendant(s)
CRIMINAL COMPLAINT .
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
. On or about the date(s) of May 25, 2018 in the county of Hidalgo __ inthe |
_ Southern District of Texas , the defendant(s) violated:
Code Section ~ a Offense Description
Title 21 U.S.C. Section 841 (a) Possession with the intent to distribute in excess of 28.5 kilograms of

Conspiracy to possess with the intent to distribute in excess of 5 kilograms of |

|
Title 21 U.S.C. Section 846° cocaine, a Schedule I! Controlled-‘Substance. - |
cocaine, a Schedule !I| Controlled Substance. |

This criminal complaint is based on these facts:

See Attachment A

@ Continued on the attached sheet.

 

 

UY Complainant’s signature

 

' Special Agent Matthew deSaracho, DEA

Printed name and title

 

 

Sworn to before me and signed in my presence.

Date fg 7 2067 | Sf,’ S07 foe oO 7

City and state: McAllen, Texas . Peter E. Ormsby
Printed name and title
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ATTACHMENT A

In April 2008, agents with the Drug Enforcement Administration (DEA) and the Texas
Department ‘of Public Safety (DPS) initiated an investigation into a Drug Trafficking Organization
(hereinafter referred to as the “DTO”), operating in the Rio Grande Valley of South Texas,
Guadalajara, Mexico, Merida, Mexico, and other cities located in the northern part of the United
States. Said investigation has revealed that members of the DTO, including Chelsea MADILL, have

_ Operated and traveled through the Southern District of Texas in furtherance of their drug
- trafficking activities. Based on the investigation, agents have determined that MADILL used .

companies to coordinate the transportation of cocaine loads concealed in cover loads from-the
Southern District of Texas to other destinations in the United States.

On or about May 25, 2018, agents conducted surveillance at a warehouse, located at 1305 °

East Pecan Boulevard, warehouse units “M” and “N”, McAllen, Texas. During surveillance, agents
observed a red Nissan sedan, with Missouri registration, registered to Hertz Car Rental in
. McAllén, Texas. Agents contacted a source of information (hereinafter referred to'as “SOI”), and
Jearned that the red Nissan was currently rented to MADILL. Agents later observed MADILL exit
the aforementioned warehouse and meet with the driver of a tractor/trailer that had arrived at.
said location. Agents observed MADILL direct the driver of the tractor/trailer to back up to the
loading dock of warehouse “M”. After the tractor/trailer parked at the loading dock and while
said trailer was loaded with a cover load, MADILL stayed with the. driver just outside the
tractor/trailer’s driver side door. ‘Agents followed the tractor/trailer after it departed the

warehouse.

During a traffic stop, the driver-of the tractor/trailer consented to a search of the

tractor/trailer. With the assistance of a DPS canine and a United States Customs and Border
Protection (CBP) x- ray scanning device, agents discovered twenty-two (22) vacuum sealed

bundles of cocaine, weighing approximately twenty-eight and a half (28.5) kilograms. After a /

post-arrest interview, the driver was released.

Subsequent investigation and telephone toll records revealed that MADILL utilized a

cellular telephone to communicate with other members of the DTO while she was in the McAllen,

Texas area. Agents also learned from another SOI that MADILL had obtained the aforementioned —

warehouse in March 2018 to use for her company; MONSTERS INC. LOGISTICS. Subsequent
investigation also revealed that MADILL had obtained the cover load used to conceal the cocaine;

as evidenced by severa! bills of lading bearing MADILL’s company, MONSTERS INC. ‘LOGISTICS, as .

_ the shipper, and an additional company owned by MADILL, TITANIUM WHOLESALE ‘AND. RETAIL,

as the received in Lombard, Illinois. On the day the. seizure occurred, telephone. toll analysis. ,

revealed that MADILL was in contact with a Mexican telephone number utilized by: the leader of
_ the DTO, who agents have identified during the investigation.

Telephone toll analysis also revealed that MADILL had contracted GPs tracking services
through Brickhouse Security, a New York based company that provides GPS tracking devices and

 
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services to customers. An administrative subpoena issued by agents to Brickhouse Security

showed that MADILL had purchased multiple GPS devices that were used to track the cover load -

_ that was found to contain the cocaine seized on May 25, 2018, as well as other cover loads that
_ are believed to have been utilized to transport narcotics and bulk United States currency.

Following the seizure, on or about May 31, 2018, MADILL traveled to Merida, Yucatan,
Mexico. DEA agents conducted surveillance on MADILL upon arrival in Merida, and observed

MADILL meet with the leader of the DTO, who is based in Mexico. On June 3, 2018, DEA agents .

conducted additional surveillance and observed MADILL board a flight in Merida, Mexico, and
travel to Atlanta, Georgia. Mexican Federal authorities conducted an exit interview of MADILL,

and learned that MADILL had stayed with an unidentified friend at an unidentified location. Upon.

entry into the United States via an international airport in Atlanta, Georgia, CBP inspectors

verified that MADILL was in possession ofthe telephone she had used to communicate with other _

_members of the DTO.

On or about August 8, 2018, agents obtained a consent to search the aforementioned |
warehouse from the owner, who had been previously notified of MADILL’s intent to vacate the ©
property and terminate the lease between herself and the owner. During the.search, agents . -

discovered multiple bills of lading for MONSTERS INC. LOGISTICS and TITANIUM WHOLESALE AND
RETAIL indicating the transportation of cover loads from the aforementioned warehouse to
another warehouse in Lombard, Illinois. Both the aforementioned warehouse, as well as the

warehouse in Lombard, Illinois, were listed on all of the bills of lading. Additionally, agents

discovered a vacuum sealer commonly used to vacuum pack narcotics, as well as discarded plastic

wrappings consistent with the type and shape of wrappings used to conceal the narcotics seized

on May 25, 2018.

Subsequent to.the aforementioned cocaine seizure, a cooperating defendant advised °

agents that MADILL works for the aforementioned DTO as:a drug trafficker. The cooperating

defendant told agents that the DTO’s drugs originated in McAllen, Texas. Said cooperating

defendant admitted that he/she had worked for MADILL as a money courier and purchaser of
cocaine, and identified other members of the DTO working with MADILL as well.

 

 
